                  Case 15-04479-CL7 Filed 09/27/17 Entered 09/27/17 08:52:29                                                          Doc 79           Pg. 1 of 14
                   Christopher R. Barclay, Chapter 7 Trustee
                   5055 N. Harbor Drive, Suite 210
                   San Diego, CA 92106
                   U.S. Mail: P.O. Box 2819, La Mesa, CA 91943-2819
                   Tel.: (619) 255-1529
1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.         Email: admin@crb7trustee.com
                                            UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                      SAN DIEGO DIVISION


                   In re:                                                                          §
                                                                                                   §
                   ROMI JESSICA KIMELL                                                             §           Case No. 15-04479-CL7
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    07/02/2015 . The undersigned trustee was appointed on 07/02/2015 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $                 8,000.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                          5,076.53
                                                     Bank service fees                                                                   56.27
                                                     Other payments to creditors                                                          0.00
                                                     Non-estate funds paid to 3rd Parties                                                 0.00
                                                     Exemptions paid to the debtor                                                        0.00
                                                     Other payments to the debtor                                                         0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $                 2,867.20

                    The remaining funds are available for distribution.
             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 11/30/2015 and the
      deadline for filing governmental claims was 01/29/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,550.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

              The trustee has received $ 1,550.00 as interim compensation and now requests a sum of
      $ 0.00 , for a total compensation of $ 1,550.00 2. In addition, the trustee received reimbursement
      for reasonable and necessary expenses in the amount of $ 39.03 , and now requests
      reimbursement for expenses of $ 0.00 , for total expenses of $ 39.03 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 08/23/2017                                     By:/s/Christopher R. Barclay
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
                                                                                                                                                                                                    Exhibit A
Case No:             15-04479                        CL            Judge:        Christopher B. Latham                       Trustee Name:                      Christopher R. Barclay
Case Name:           ROMI JESSICA KIMELL                                                                                     Date Filed (f) or Converted (c):   07/02/2015 (f)
                                                                                                                             341(a) Meeting Date:               08/05/2015
For Period Ending:   08/23/2017                                                                                              Claims Bar Date:                   11/30/2015


                                  1                                             2                            3                            4                          5                             6

                         Asset Description                                    Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                       Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                              Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                        Exemptions,                                                                              Assets
                                                                                                      and Other Costs)

  1. 36 Central Street, Apt. 5, Andover, MA-Equitable Ownership                     300,000.00                        0.00                                                4,000.00                           FA
  2. Cash                                                                                 100.00                      0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  3. Bank Accounts At Bank Of America                                                 1,859.00                        0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  4. Used Household Goods And Furnishings.                                                800.00                      0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  5. Used Clothing                                                                        150.00                      0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  6. Jewelry                                                                              800.00                      0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  7. Claims Against James Welling, Including Stalking, Violation                     90,000.00                        0.00                                                4,000.00                           FA
  8. Leased 2015 Prius.                                                              15,000.00                        0.00               OA                                      0.00                        FA

     Property claimed 100% exempt by debtor. Property
     abandoned per notice of proposed abandonment filed on
     March 8, 2016 [Docket 44].
  9. Dog, Cat                                                                              50.00                      0.00               OA                                      0.00                        FA

     Property abandoned per notice of proposed abandonment
     filed on March 8, 2016 [Docket 44].

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                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
                                                                                                                                                                                                          Exhibit A
Case No:              15-04479                          CL              Judge:        Christopher B. Latham                        Trustee Name:                      Christopher R. Barclay
Case Name:            ROMI JESSICA KIMELL                                                                                          Date Filed (f) or Converted (c):   07/02/2015 (f)
                                                                                                                                   341(a) Meeting Date:               08/05/2015
For Period Ending:    08/23/2017                                                                                                   Claims Bar Date:                   11/30/2015


                                   1                                                 2                            3                             4                          5                             6

                         Asset Description                                         Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                   Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                                Assets
                                                                                                          and Other Costs)

 10. Refund from Citibank (u)                                                              Unknown                          0.00                                                       0.00                        FA

     In April 2017, trustee was informed that debtor received a
     check in the amount of $303.00 from Citibank. Trustee
     requested that debtor amended her schedules to disclose the
     refund check and amend Schedule C if she asserts a claim of
     exemption in the refund. Counsel responded by indicating that
     the debtor is in custody in Massachusetts and as a result,
     counsel was going to have difficulty in obtaining the debtor's
     signature for the amendment. To date, the debtor has not
     filed the amendment and has not turned over the check to the
     trustee. But given the amount of the refund check, trustee
     does not intend to administer the property and shall mark the
     refund as fully administered.



                                                                                                                                                                                    Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $408,759.00                       $0.00                                               $8,000.00                         $0.00
                                                                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  UPDATE TO CASE NOTES THROUGH AUGUST 31, 2017:

  On May 2, 2017, the trustee issued payment of the allowed professional claims in the case.

  In April 2017, trustee was informed that debtor received a check in the amount of $303.00 from Citibank. Trustee requested that debtor amended her schedules to disclose the
  refund check and amend Schedule C if she asserts a claim of exemption in the refund. Counsel responded by indicating that the debtor is in custody in Massachusetts and as a
  result, counsel was going to have difficulty in obtaining the debtor's signature for the amendment. To date, the debtor has not filed the amendment and has not turned over the
  check to the trustee. Trustee has listed the Citiibank refund as an unscheduled asset. But given the amount of the refund check, trustee does not intend to administer the
  property and shall mark the refund as fully administered.

  This case is now postured for filing of the trustee's final report which the trustee expects will occur by August 31, 2017.


  SECOND REPORTING PERIOD THROUGH MARCH 31, 2017:

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Mr. Welling filed claim in the case in the amount of $659,199.40. IRS is the only other creditor in the case with a filed claim for $3,000.00. Given the small creditor body, trustee
believed there was no benefit to the estate to pursue the estate's claims against Mr. Welling. Accordingly, on or about July 25, 2016, trustee filed and caused to be served on
parties in interest, including debtor and creditors, (i) Trustee's Notice of Proposed Abandonment of Property with respect to claims against Welling, including stalking, violation of   Exhibit A
privacy laws, conversion of real property, theft of rents, and other actions alleged by Debtor (the "Damage Claims"), and (ii) Trustee's Notice of Proposed Abandonment of
Property with respect to equitable ownership of a condominium located at 36 Central Street, Apartment 5, Andover, Massachusetts (the "Real Property Claims"). Thereafter, Mr.
Welling contacted trustee's counsel regarding a possible resolution on the estate's claims against Mr. Welling. The negotiations were successful and the parties reached an
agreement to settle and release Mr. Welling from all liability related to the Damage Claims, the Real Property Claims, and any other claims that Debtor or the Estate may have or
assert against Welling. In light of the Agreement, on August 15, 2016, trustee filed a withdrawal of the Notices of Proposed Abandonment of Property.

Pursuant to the agreement, Mr. Welling agreed to pay the estate $8,000.00 to settle and release Mr. Welling from all liability related to the Damage Claims, the Real Property
Claims, and any other claims that Debtor or the Estate may have or assert against Welling. The notice of intended action regarding the approval of the agreement was filed on
September 29, 2016. No party opposed the notice and on October 28, 2016, the court entered an approving the notice. The trustee received the proceeds from the sale on
November 7, 2016.

During this period, the trustee and his counsel sought approval of their professional fees and costs. GOGG's final fees and costs were approved by order entered on March 28,
2017.

In light of the trustee's completion of his case closing activities, the trustee changed his estimated TFR date of March 31, 2017 to May 31, 2017.

This case is now postured for filing of the trustee's final report which the trustee expects will occur by June 30, 2017.


FIRST REPORTING PERIOD THROUGH MARCH 31, 2016:

Case Summary and Chronology to Date:

A voluntary chapter 7 case was filed on July 2, 2015. 341(a) meetings in the chapter 7 case were conducted on August 5 and August 17, 2015. The trustee is investigating the
estate's interest in potential avoidance claims related to the debtor's transfer of real property located at 36 Central Street, Apt. 5, Andover, Massachusetts to James Welling
(debtor's stepfather).

The trustee has engaged the attorneys at Gates, O'Doherty, Gonter and Guy, LLP ("GOGG") to represent the estate. An ex parte application to employ GOGG as general
bankruptcy counsel, effective as of August 19, 2015, was filed on September 1, 2015. The order authori ing the trustee's employment of GOGG was entered on September 14,
2015.

On August 31, 2015, the trustee filed a request for a claims bar date. The last day for creditors to file claims was November 30, 2015.

The debtor asserts her claims against Mr. Welling have a value of $90,000.00. Mr. Welling filed a proof of claim in the case in the amount of $659,199.40. The IRS is the only
other creditor in the case with a claim in the amount of $3,000.00.

In January 2016, the debtor was criminally indicted for stealing money from Mr. Welling. The criminal trial in Massachusetts is moving forward and Mr. Welling's complaint
objecting to the debtor's discharge is stayed pending the outcome of the criminal trial.

With the assistance of his counsel, the trustee is currently in discussions with Mr. Welling's counsel regarding a possible settlement of the estate's potential avoidance claims.
Given the small creditor body, the trustee is also contemplating a sale of the estate's claims against Mr. Welling to the debtor. However, given her circumstances, the trustee
does not believe she would be in a position to do so.


1.Assets That Will be Abandoned

The trustee has determined that asset numbers 2 through 6, 8 & 9 are of inconsequential value to the estate and were abandoned per trustee's notice of proposed abandonment
filed on March 8, 2016.

2.Status of Liquidation Efforts

The trustee's investigation concerning the debtor's interest in property is still ongoing.

3.Status of Adversary Actions and Appeals

No adversaries or appeals have been filed by the trustee in this case.

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4.Status of Claims Review/Objections

The claims bar date expired on November 30, 2015. The claims register reflects $662,327.90 in creditor claims have been filed. No claims objections have been filed.   Exhibit A
5.Status of Tax Returns

No tax returns have been due or filed during this period.

6.Other Actions Necessary to Complete Administration of the Case

Case to remain open as an asset case pending completion of trustee's investigation and liquidation activities and filing of required final reports.




Initial Projected Date of Final Report (TFR): 03/31/2017             Current Projected Date of Final Report (TFR): 05/31/2017




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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-04479                                                                                              Trustee Name: Christopher R. Barclay                                      Exhibit B
      Case Name: ROMI JESSICA KIMELL                                                                                        Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX2320
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX4286                                                                               Blanket Bond (per case limit): $52,000,000.00
For Period Ending: 08/23/2017                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   11/07/16                        James Welling                             Settlement Payment                                                              $8,000.00                                 $8,000.00
                                   c/o Mintz Levin et al                     Order approving settlement
                                   3580 Carmel Mountain Road, Suite 300      was entered on October 28,
                                   San Diego, CA 92130                       2016 [Docket 63].
                                                                             Gross Receipts                            $8,000.00

                        1                                                    36 Central Street, Apt. 5,                $4,000.00    1110-000
                                                                             Andover, MA-Equitable
                                                                             Ownership
                        7                                                    Claims Against James Welling,             $4,000.00    1141-000
                                                                             Including Stalking, Violation
   12/07/16                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.00            $7,990.00
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/09/17                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $11.88            $7,978.12
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/07/17                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $11.86            $7,966.26
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/07/17                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.70            $7,955.56
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/07/17                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $11.83            $7,943.73
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/02/17           1001         GATES O'DOHERTY GONTER & GUY,             Allowed Attorneys' Fees                                3210-000                                     $3,487.50             $4,456.23
                                   LLP                                       Per Order Entered March 28,
                                   15373 INNOVATION DRIVE, SUITE 170         2017
                                   SAN DIEGO, CA 92128
   05/02/17           1002         C. R. BARCLAY                             Allowed Trustee Compensation                           2100-000                                     $1,550.00             $2,906.23
                                   P.O. BOX 2819
                                   LA MESA, CA 91943-2819                    Per Order Entered April 28,
                                                                             2017
   05/02/17           1003         C. R. BARCLAY                             Allowed Trustee Costs                                  2200-000                                         $39.03            $2,867.20
                                   P.O. BOX 2819                             Per Order Entered April 28,
                                   LA MESA, CA 91943-2819                    2017



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                                                                            COLUMN TOTALS                          $8,000.00     $5,132.80
                                                                                  Less: Bank Transfers/CD's           $0.00         $0.00
                                                                            Subtotal                               $8,000.00     $5,132.80   Exhibit B
                                                                                  Less: Payments to Debtors           $0.00         $0.00
                                                                            Net                                    $8,000.00     $5,132.80




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                                                                                                                                                               Exhibit B
                                                                                        TOTAL OF ALL ACCOUNTS
                                                                                                                                          NET             ACCOUNT
                                                                                                        NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                          XXXXXX2320 - Checking                                              $8,000.00               $5,132.80             $2,867.20
                                                                                                             $8,000.00               $5,132.80             $2,867.20

                                                                                                     (Excludes account     (Excludes payments     Total Funds on Hand
                                                                                                             transfers)             to debtors)
                                          Total Allocation Receipts:                        $0.00
                                          Total Net Deposits:                            $8,000.00
                                          Total Gross Receipts:                          $8,000.00




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                                                                              Exhibit C




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 15-04479-CL7
     Case Name: ROMI JESSICA KIMELL
     Trustee Name: Christopher R. Barclay
                         Balance on hand                                              $                  2,867.20

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: Christopher R. Barclay,
      Chapter 7 Trustee                               $         1,550.00 $         1,550.00 $                0.00
      Trustee Expenses: Christopher R. Barclay,
      Chapter 7 Trustee                               $               39.03 $         39.03 $                0.00
      Attorney for Trustee Fees: GATES,
      O'DOHERTY, GONTER & GUY, LLP                    $         3,487.50 $         3,487.50 $                0.00
                 Total to be paid for chapter 7 administrative expenses               $                      0.00
                 Remaining Balance                                                    $                  2,867.20


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 3,079.68 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:




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                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
                          INTERNAL REVENUE
     1A                   SERVICE                         $      3,079.68 $              0.00 $        2,867.20
                 Total to be paid to priority creditors                                 $              2,867.20
                 Remaining Balance                                                      $                   0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 659,199.40 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
     2                    James Welling                   $    659,199.40 $              0.00 $             0.00
                 Total to be paid to timely general unsecured creditors                 $                   0.00
                 Remaining Balance                                                      $                   0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                               NONE




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            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 48.82 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          INTERNAL REVENUE
     1B                   SERVICE                     $           48.82 $              0.00 $            0.00
                 Total to be paid to subordinated unsecured creditors                 $                  0.00
                 Remaining Balance                                                    $                  0.00




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